Fill in this information to identify the case:

Debtor name         Grow Green MI INC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN

Case number (if known)     24-31158
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 3, 2024                    X /s/ Anthony Portelli
                                                           Signature of individual signing on behalf of debtor

                                                            Anthony Portelli
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:

 Debtor name            Grow Green MI INC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF MICHIGAN

 Case number (if known)               24-31158
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $           592,355.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $           592,355.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $        1,847,998.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$        2,400,703.55


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $           4,248,701.55




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Grow Green MI INC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN

Case number (if known)       24-31158
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                                $500.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Live Life Federal Credit Union                    Checking                              5470                                     $1,254.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,754.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Security Deposit with Landlord                                                                                                  $18,000.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1


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Debtor       Grow Green MI INC                                                              Case number (If known) 24-31158
             Name


9.        Total of Part 2.                                                                                                          $18,000.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                        31,771.00      -                           31,771.00 =....                        Unknown
                                       face amount                            doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                                 $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials
          Approximately 70 pallets
          of fertilizer, soil, concrete,
          water softner salt, bird
          seed, cat food,                                                                 $0.00                                          $5,000.00



20.       Work in progress

21.       Finished goods, including goods held for resale
          Approximately 40 pallets
          of fans, nutrients, soil,
          pots, saucers, electrical
          components, sand, pest
          control, and various
          gardening tools and
          equipment.                                                                      $0.00                                         $40,000.00



22.       Other inventory or supplies
          Rack Shelving/pallet
          racking-attempted to sell
          no market-scrap value                                                       Unknown                                           $15,000.00



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2

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             Name

          Scrap Metal                                                                     $0.00                                          $5,000.00


          Broken Pallet Jacks, other
          scrap value equipment                                                           $0.00                                          $3,000.00




23.       Total of Part 5.                                                                                                          $68,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          6 offices with furniture                                                        $0.00                                          $5,000.00


          10 computers                                                                    $0.00                                          $1,500.00


          Various kitchen equipment                                                       $0.00                                          $1,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Audio Visual Equipment inlcuding but not limited
          to speakers, projectors                                                         $0.00                                          $3,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3

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             Name


43.       Total of Part 7.                                                                                                        $10,500.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of        Valuation method used      Current value of
          Include year, make, model, and identification numbers      debtor's interest        for current value          debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    Box Truck 2013 Freightliner                                      $0.00                                           $7,000.00


          47.2.    Box Truck 2016 Freighliner                                       $0.00                                           $7,000.00


          47.3.    Box Truck 2015 Freightliner                                      $0.00                                          $12,000.00


          47.4.    Semi Truck 2016 Freightliner                                     $0.00                                          $20,000.00


          47.5.    Semi Truck 2016 Freightliner                                     $0.00                                          $20,000.00


          47.6.    Semi Truck 2017 Freightliner                                     $0.00                                          $20,000.00


          47.7.    Semi Truck 2016 Freightliner                                     $0.00                                          $20,000.00


          47.8.    SEmi Truck 2016 Freightliner                                     $0.00                                          $20,000.00


          47.9.    Semi Truck 2016 Freightliner                                     $0.00                                          $20,000.00


          47.10
          .     Vanguard Trailer                                                    $0.00                                             $500.00


          47.11
          .     Strick Trailer                                                      $0.00                                             $500.00


          47.12
          .     2023 Great Dane Trailer                                             $0.00                                          $30,000.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 4

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         47.13
         .     2023 Great Dane Trailer                                              $0.00                                  $30,000.00


         47.14
         .     2023 Great Dane Trailer                                              $0.00                                  $30,000.00


         47.15
         .     2024 Great Dane Trailer                                              $0.00                                  $30,000.00


         47.16
         .     2024 Great Dane Trailer                                              $0.00                                  $30,000.00


         47.17
         .     2024 Great Dane Trailer                                              $0.00                                  $30,000.00


         47.18
         .     2024 Great Dane Trailer                                              $0.00                                  $30,000.00


         47.19
         .     2024 Great Dane Trailer                                              $0.00                                  $30,000.00


         47.20
         .     2024 Great Dane Trailer                                              $0.00                                  $30,000.00


         47.21
         .     2024 Great Dane Trailer                                              $0.00                                  $30,000.00


         47.22
         .     2024 Great Dane Trailer                                              $0.00                                  $30,000.00



48.      Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
         floating homes, personal watercraft, and fishing vessels

49.      Aircraft and accessories


50.      Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)
         Box Machine                                                                $0.00                                      $3,000.00


         Tape Sealers                                                               $0.00                                       $600.00


         Scissorlift                                                                $0.00                                      $1,500.00


         Pallet wrapper                                                             $0.00                                      $5,000.00


         2 vertical lifts                                                           $0.00                                      $6,000.00


         5 pallet jacks                                                             $0.00                                      $1,000.00



Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                 page 5

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Debtor        Grow Green MI INC                                                            Case number (If known) 24-31158
              Name

           4 toyota forklifts -lease                                                     $0.00                                       $1.00



51.        Total of Part 8.                                                                                                  $494,101.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                 page 6

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                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,754.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $18,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $68,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $10,500.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $494,101.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $592,355.00           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $592,355.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 7

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Fill in this information to identify the case:

Debtor name         Grow Green MI INC

United States Bankruptcy Court for the:           EASTERN DISTRICT OF MICHIGAN

Case number (if known)             24-31158
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Amazon Loans                                 Describe debtor's property that is subject to a lien                 $285,998.00                     $500.00
      Creditor's Name                              All assets
      410 Terry Ave N.
      Seattle, WA 98109
      Creditor's mailing address                   Describe the lien
                                                   All asset lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   balboa capital                               Describe debtor's property that is subject to a lien                   $35,000.00                $20,000.00
      Creditor's Name                              SEmi Truck 2016 Freightliner
      575 Anton Blvd, Ste. 1080
      Costa Mesa, CA 92626
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 10


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Debtor      Grow Green MI INC                                                                     Case number (if known)     24-31158
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   balboa capital                              Describe debtor's property that is subject to a lien                     $35,000.00    $20,000.00
      Creditor's Name                             Semi Truck 2016 Freightliner
      575 Anton Blvd, Ste. 1080
      Costa Mesa, CA 92626
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   BFG Supply Co., LLC                         Describe debtor's property that is subject to a lien                     $66,000.00    $18,000.00
      Creditor's Name                             All Assets
      14500 Kinsman Rd.
      Burton, OH 44021
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed
      1. Michigan Department of
      Treasury
      2. BFG Supply Co., LLC

2.5   CCG Financing                               Describe debtor's property that is subject to a lien                      Unknown        Unknown
      Creditor's Name                             All Assets
      2135 City Gate Lane, Ste 440
      Naperville, IL 60563
      Creditor's mailing address                  Describe the lien




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 2 of 10


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Debtor      Grow Green MI INC                                                                     Case number (if known)     24-31158
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   CCG Financing                               Describe debtor's property that is subject to a lien                     $57,000.00    $30,000.00
      Creditor's Name                             2024 Great Dane Trailer
      2135 City Gate Lane, Ste 440
      Naperville, IL 60563
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   CCG Financing                               Describe debtor's property that is subject to a lien                     $57,000.00    $30,000.00
      Creditor's Name                             2024 Great Dane Trailer
      2135 City Gate Lane, Ste 440
      Naperville, IL 60563
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 3 of 10


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Debtor      Grow Green MI INC                                                                     Case number (if known)     24-31158
            Name

2.8   CIT                                         Describe debtor's property that is subject to a lien                     $60,000.00    $20,000.00
      Creditor's Name                             Semi Truck 2016 Freightliner
      155 Commerce Way
      Portsmouth, NH 03801
      Creditor's mailing address                  Describe the lien
                                                  Purchase money security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.9   CT Corporations System                      Describe debtor's property that is subject to a lien                      Unknown             $0.00
      Creditor's Name                             All Assets
      330 N. Brand Blvd, Suite 700
      ATTN:SPRS
      Mount Wilson, CA 91023
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.1
0     Equify Finanical                            Describe debtor's property that is subject to a lien                     $51,000.00    $30,000.00
      Creditor's Name                             2024 Great Dane Trailer
      777 Main St #3900,
      Fort Worth, TX 76102
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 4 of 10


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Debtor      Grow Green MI INC                                                                     Case number (if known)      24-31158
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
1     Equify Finanical                            Describe debtor's property that is subject to a lien                      $51,000.00    $30,000.00
      Creditor's Name                             2024 Great Dane Trailer
      777 Main St #3900,
      Fort Worth, TX 76102
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
2     Equify Finanical                            Describe debtor's property that is subject to a lien                      $51,000.00    $30,000.00
      Creditor's Name                             2024 Great Dane Trailer
      777 Main St #3900,
      Fort Worth, TX 76102
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Michigan Department of
3     Treasury                                    Describe debtor's property that is subject to a lien                     $650,000.00    $18,000.00
      Creditor's Name                             UCC-1 Tax Lien
      Collection/Bankruptcy Unit
      P O Box 30168
      Lansing, MI 48909
      Creditor's mailing address                  Describe the lien

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Debtor      Grow Green MI INC                                                                     Case number (if known)     24-31158
            Name


                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.4

2.1
4     Peac Financing                              Describe debtor's property that is subject to a lien                     $50,000.00    $20,000.00
      Creditor's Name                             Semi Truck 2016 Freightliner
      PO Box 13604
      Philadelphia, PA 19101
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
5     PNC Financing                               Describe debtor's property that is subject to a lien                     $55,000.00    $30,000.00
      Creditor's Name                             2023 Great Dane Trailer
      Customer Service
      P.O. Box 3429
      Pittsburgh, PA 15230-3429
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Grow Green MI INC                                                                     Case number (if known)     24-31158
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
6     PNC Financing                               Describe debtor's property that is subject to a lien                     $55,000.00    $30,000.00
      Creditor's Name                             2023 Great Dane Trailer
      Customer Service
      P.O. Box 3429
      Pittsburgh, PA 15230-3429
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
7     PNC Financing                               Describe debtor's property that is subject to a lien                     $55,000.00    $30,000.00
      Creditor's Name                             2023 Great Dane Trailer
      Customer Service
      P.O. Box 3429
      Pittsburgh, PA 15230-3429
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
8     PNC Financing                               Describe debtor's property that is subject to a lien                     $52,000.00    $30,000.00
      Creditor's Name                             2024 Great Dane Trailer
      Customer Service
      P.O. Box 3429
      Pittsburgh, PA 15230-3429
      Creditor's mailing address                  Describe the lien



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Debtor      Grow Green MI INC                                                                     Case number (if known)     24-31158
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
9     PNC Financing                               Describe debtor's property that is subject to a lien                     $55,000.00    $30,000.00
      Creditor's Name                             2024 Great Dane Trailer
      Customer Service
      P.O. Box 3429
      Pittsburgh, PA 15230-3429
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
0     Tandem Finanice Trailer                     Describe debtor's property that is subject to a lien                     $57,000.00    $30,000.00
      Creditor's Name                             2024 Great Dane Trailer
      3801 Automation Way UNIT
      207,
      Fort Collins, CO 80525
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor       Grow Green MI INC                                                                     Case number (if known)       24-31158
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.2
1      Umpqua Bank                                 Describe debtor's property that is subject to a lien                      $35,000.00              $20,000.00
       Creditor's Name                             Semi Truck 2017 Freightliner
       5885 Meadows end
       Lake Oswego, OR 97035
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.2
2      Umpqua Bank                                 Describe debtor's property that is subject to a lien                      $35,000.00              $20,000.00
       Creditor's Name                             Semi Truck 2016 Freightliner
       5885 Meadows end
       Lake Oswego, OR 97035
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $1,847,998.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


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Debtor    Grow Green MI INC                                                 Case number (if known)      24-31158
          Name

      Name and address                                                              On which line in Part 1 did       Last 4 digits of
                                                                                    you enter the related creditor?   account number for
                                                                                                                      this entity
      Lendistry
      767 S Alameda St.                                                             Line   2.1
      Unit 340
      Los Angeles, CA 90021

      Michigan Department of Attorney General
      Cadillac Place, 10th Floor                                                    Line   2.13
      3030 W. Grand Blvd., Suite 10-200
      Detroit, MI 48202




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Fill in this information to identify the case:

Debtor name        Grow Green MI INC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF MICHIGAN

Case number (if known)           24-31158
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown       $0.00
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Operations                       Contingent
          PO Box 7346                                             Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               income tax
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $20,735.00
          Advance Packaging Corp.                                                Contingent
          P.O. Box 888311                                                        Unliquidated
          Grand Rapids, MI 49588-8311                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $66,000.00
          Advanced Nutrients                                                     Contingent
          1625 Heritage St.                                                      Unliquidated
          Suite 104                                                              Disputed
          Woodland, WA 98674-9766
                                                                             Basis for the claim: Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?           No   Yes




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Debtor      Grow Green MI INC                                                               Case number (if known)            24-31158
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $62,347.00
         American Express                                             Contingent
         Customer Care / Bankruptcy                                   Unliquidated
         P.O. Box 297812                                              Disputed
         Fort Lauderdale, FL 33329-7812
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number 3005                      Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,601.00
         American Express                                             Contingent
         Customer Care / Bankruptcy                                   Unliquidated
         P.O. Box 297812                                              Disputed
         Fort Lauderdale, FL 33329-7812
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number 3002                      Is the claim subject to offset?     No       Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $40,000.00
         Athena Products                                              Contingent
         3811 Wacker Drive                                            Unliquidated
         Mira Loma, CA 91752                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,765.00
         Bachman Truck Tire Service, LLC                              Contingent
         P.O. Box 902                                                 Unliquidated
         Howell, MI 48844                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,335.00
         Central Coast Garden Products, Inc.                          Contingent
         1354 Dayton St., Unit N                                      Unliquidated
         Salinas, CA 93901                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $48,362.00
         Chiller Guy                                                  Contingent
         1840 E. Woodsman Place                                       Unliquidated
         Chandler, AZ 85286                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,299.00
         Citizens One Auto Finance
         Attn: Bankruptcy Team                                        Contingent
         One Citizens Way                                             Unliquidated
         JCA115                                                       Disputed
         Johnston, RI 02919-1922
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Grow Green MI INC                                                               Case number (if known)            24-31158
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,000.00
         Corrigan Oil                                                 Contingent
         775 N. 2nd Street                                            Unliquidated
         Suite 1                                                      Disputed
         Milan, MI 48160
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,497.00
         Current Culture H2o (Sequoia)                                Contingent
         4333 S. Minnewawa Ave.                                       Unliquidated
         Suite 101                                                    Disputed
         Tulare, CA 93275
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $435.00
         Dash Medical Gloves                                          Contingent
         9635 S. Franklin Dr.                                         Unliquidated
         Franklin, WI 53132                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,200.00
         Davis Wholesale Supply                                       Contingent
         7690 Zionsville Rd.                                          Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,000.00
         Dosatron International, LLC                                  Contingent
         P.O. Box 952127                                              Unliquidated
         Dallas, TX 75395-2127                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $473,332.01
         Fed Ex Corporate Services                                    Contingent
         c/o Attorney Ron Rich                                        Unliquidated
         30665 Northwestern                                           Disputed
         Farmington, MI 48334
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,250.00
         Foreverbed                                                   Contingent
         805 North East St.                                           Unliquidated
         Webb City, MO 64870                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $33,000.00
         Fox Farm Soil & Fertilizer                                   Contingent
         8601 N. Scottsdale Rd.                                       Unliquidated
         Suite 309                                                    Disputed
         Paradise Valley, AZ 85253
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,528.00
         Frank's Cold Plunge                                          Contingent
         1000 SW 184th Ter                                            Unliquidated
         Pembroke Pines, FL 33029                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,153.00
         Frey Group, LLC                                              Contingent
         372 Puseyvill Rd.                                            Unliquidated
         Quarryville, PA 17566                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,859.00
         Garden City Fungi (Exhale CO2)                               Contingent
         P.O. Box 1591                                                Unliquidated
         Missoula, MT 59806                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,485.00
         GGM Transport, LLC                                           Contingent
         10505 Plaza Drive                                            Unliquidated
         Whitmore Lake, MI 48189                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,000.00
         Golden Prairie Farms, Inc.                                   Contingent
         430 5th Street                                               Unliquidated
         P.O. Box 2                                                   Disputed
         Nunn, CO 80648
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,060.00
         Golden Prairie, Inc.                                         Contingent
         430 5th Street                                               Unliquidated
         P.O. Box 2                                                   Disputed
         Nunn, CO 80648
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Grow Green MI INC                                                               Case number (if known)            24-31158
            Name

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,310.00
         Great Lakes Garden Wholesale                                 Contingent
         6811 Miller Dr.                                              Unliquidated
         Warren, MI 48092                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,865.00
         Green Oak Charter Township                                   Contingent
         10001 Silver Lake Rd.                                        Unliquidated
         Brighton, MI 48116                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,000.00
         Grow Generation                                              Contingent
         1000 W. Mississippi Ave.                                     Unliquidated
         Denver, CO 80223                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $39,598.00
         Hawthorne Garden Supply Co.                                  Contingent
         75 Remittance Drive.                                         Unliquidated
         Suite 1917                                                   Disputed
         Chicago, IL 60675-1917
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,198.00
         High Caliper Growing, Inc.                                   Contingent
         7000 N. robinson Ave.                                        Unliquidated
         Oklahoma City, OK 73116-9043                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $208,000.00
         Hortmark                                                     Contingent
         302 S. Main St.                                              Unliquidated
         P.O. Box 127                                                 Disputed
         Capac, MI 48014
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,895.00
         Hubbard Snitchler & Parzianello, PLC                         Contingent
         801 West Ann Arbor Trail                                     Unliquidated
         Plymouth, MI 48170                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Grow Green MI INC                                                               Case number (if known)            24-31158
            Name

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,356.00
         Intec Engineering                                            Contingent
         959 S. Telegraph Rd.                                         Unliquidated
         Monroe, MI 48161                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,000.00
         LN2 Gas and Supply                                           Contingent
         12620 Southfield Rd.                                         Unliquidated
         Detroit, MI 48223                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,406.00
         Low Voltage                                                  Contingent
         15814 Amore                                                  Unliquidated
         Clinton Township, MI 48038                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $35,000.00
         Michigan HR Group                                            Contingent
         3588 Plymouth Rd.                                            Unliquidated
         Suite 279                                                    Disputed
         Ann Arbor, MI 48105-2603
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,999.00
         Morgan Composting Inc. (Dairy Doo)                           Contingent
         4353 US Highway 10                                           Unliquidated
         Sears, MI 49679                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,069.00
         Morton Salt                                                  Contingent
         444 West Lake St.                                            Unliquidated
         Chicago, IL 60606                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,388.00
         Nataliya Krushelnytska                                       Contingent
         18928 85th Dr. NW                                            Unliquidated
         Stanwood, WA 98292                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,466.90
         Netafirm Irrigation, INc.                                    Contingent
         5470 East Home Avenue                                        Unliquidated
         Dept. 144620                                                 Disputed
         Fresno, CA 93727
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,830.00
         Onramp Lending                                               Contingent
         1705 S. Capital of Texas Hwy.                                Unliquidated
         Suite 500                                                    Disputed
         Austin, TX 78746
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,500.00
         Oregon's Only                                                Contingent
         P.O. Box 7312                                                Unliquidated
          OR 97475                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,320.00
         Organically Done                                             Contingent
         11497 Dunlavy Lane                                           Unliquidated
         Whitmore Lake, MI 48189                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,317.00
         Overhead Door Co. of Whitmore Lake                           Contingent
         10810 Plaza Dr.                                              Unliquidated
         Whitmore Lake, MI 48189                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,640.00
         Palmetto Vermiculite Co.                                     Contingent
         Attn: Hunter Brown                                           Unliquidated
         13089 US-221                                                 Disputed
         Fingerville, SC 29338
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,000.00
         Pantero (Inspired Packaging Solutions)                       Contingent
         164 Indusco Ct.                                              Unliquidated
         Troy, MI 48083                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,474.00
         Plant Revolution                                             Contingent
         412 Goetz Ave.                                               Unliquidated
         Santa Ana, CA 92707                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,169.00
         PNC Bank                                                     Contingent
         Customer Service                                             Unliquidated
         P.O. Box 3429                                                Disputed
         Pittsburgh, PA 15230-3429
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,000.00
         ProHort, Inc.                                                Contingent
         1015 Riley St.                                               Unliquidated
         Unit 6                                                       Disputed
         Folsom, CA 95763
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,900.00
         Reliable Compactor Service                                   Contingent
         P.O. Box 182314                                              Unliquidated
         Utica, MI 48318                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,500.00
         Robert M. Weiss                                              Contingent
         280 N. Old Woodward                                          Unliquidated
         Suite 406                                                    Disputed
         Birmingham, MI 48009
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $39,954.00
         Sachs Peanuts, LLC                                           Contingent
         9232 U.S. 701 Highway                                        Unliquidated
         Clarkston, NC 28337                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,169.00
         SAIA Motor Freight Line, LLC                                 Contingent
         P.O. Box 730532                                              Unliquidated
         Dallas, TX 75373-0532                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,657.00
         SCHMALZ                                                      Contingent
         5850 Oak Forest Dr.                                          Unliquidated
         Raleigh, NC 27616                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,048.00
         Scynce Yes                                                   Contingent
         4641 E. Ivy St.                                              Unliquidated
         Mesa, AZ 85205                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,100.00
         Steel Horizon Logistics, LLC                                 Contingent
         11497 Dunlavy Lane                                           Unliquidated
         Whitmore Lake, MI 48189                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $41,670.00
         Sunrich Promo, Inc.                                          Contingent
         1220 Sunflower St.                                           Unliquidated
         Crookston, MN 56716                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Susanna Kravchenkov                                          Contingent
         7786 Beech St. NE                                            Unliquidated
         Minneapolis, MN 55432                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,729.66
         The Organic Mechanics Soil Co.                               Contingent
         P.O. Box 272                                                 Unliquidated
         Modena, PA 19358                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $324.00
         The Water Store                                              Contingent
         3603 Page Ave.                                               Unliquidated
         Jackson, MI 49203                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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             Name

3.59      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $192,920.00
          Toogood Cannabis                                                    Contingent
          22727 Nagel St.                                                     Unliquidated
          Warren, MI 48089                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.60      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          Total Armored Car Service, Inc.                                     Contingent
          2950 Rosa Parks Blvd.                                               Unliquidated
          Detroit, MI 48216                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.61      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          Toyota Commercial Finance                                           Contingent
          P.O. Box 660926                                                     Unliquidated
          Dallas, TX 75266-0926                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.62      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,683.00
          UNCO Industries, Inc.                                               Contingent
          1577 11th Ave.                                                      Unliquidated
          Union Grove, WI 53182                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.63      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $439,345.98
          UPS                                                                 Contingent
          P.O. Box 809488                                                     Unliquidated
          Chicago, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.64      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $107,659.00
          Van Den Bosch Co.                                                   Contingent
          4511 Hollard Ave.                                                   Unliquidated
          Holland, MI 49424                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.65      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $9,000.00
          Wolverine Freightliner - Westside                                   Contingent
          3000 William                                                        Unliquidated
          Ypsilanti, MI 48198                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


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            Name

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any
4.1       US Attorney (IRS)
          Attn: Civil Division                                                                  Line     2.1
          211 W. Fort Street, #2001
                                                                                                       Not listed. Explain
          Detroit, MI 48226


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                       5a.         $                          0.00
5b. Total claims from Part 2                                                                       5b.    +    $                  2,400,703.55

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.         $                    2,400,703.55




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Fill in this information to identify the case:

Debtor name       Grow Green MI INC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN

Case number (if known)     24-31158
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            2021 Cadillac Escalade
           lease is for and the nature of
           the debtor's interest

               State the term remaining          unknown
                                                                                    Anthony Portelli
           List the contract number of any                                          10556 Plaza Dr
                 government contract                                                Whitmore Lake, MI 48189


2.2.       State what the contract or            Ford F-350
           lease is for and the nature of
           the debtor's interest

               State the term remaining          unknown
                                                                                    Anthony Portelli
           List the contract number of any                                          10556 Plaza Dr
                 government contract                                                Whitmore Lake, MI 48189


2.3.       State what the contract or            10566 Plaza Dr.
           lease is for and the nature of
           the debtor's interest

               State the term remaining          December 31, 2025
                                                                                    Fortech Properties
           List the contract number of any                                          7600 Kensington Ct
                 government contract                                                Brighton, MI 48116


2.4.       State what the contract or            Credit Card Processing
           lease is for and the nature of
           the debtor's interest

               State the term remaining          Oct 2024
                                                                                    Maverick
           List the contract number of any                                          458 Main St.
                 government contract       n/a                                      Wilmington, MA 01887




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2


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Debtor 1 Grow Green MI INC                                                         Case number (if known)   24-31158
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.5.      State what the contract or        4 Toyota forklift leases
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Toyota Financial Services
          List the contract number of any                                  P.O. Box 8026
                government contract                                        Cedar Rapids, IA 52408-8026




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 2


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Fill in this information to identify the case:

Debtor name      Grow Green MI INC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF MICHIGAN

Case number (if known)   24-31158
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




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Fill in this information to identify the case:

Debtor name         Grow Green MI INC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF MICHIGAN

Case number (if known)    24-31158
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $3,239,136.88
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                           $17,117,744.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                           $26,365,648.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             See Attached Spreadsheet                                                                      $0.00              Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Anthony Portelli                                      2024                                Unknown           ****This calculation needs to be
             Debtor address                                                                                              reconcilled by Debtor's principle
                                                                                                                         and accountant. Will amend
                                                                                                                         schedules upon receipt of
                                                                                                                         reconciled numbers

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property

      Michigan Department of Treasury                  Funds sezied from bank acount                                                                 $6,459.00
      Collection/Bankruptcy Unit
      P O Box 30168
      Lansing, MI 48909


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address
      7.1.   Michigan Department of                    Audit                                                                       Pending
             Treasury                                                                                                              On appeal
                                                                                                                                   Concluded


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8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                       value
               Address
      11.1.                                                                                                           2-29-24
               Goldstein Bershad & Fried PC                                                                           through
               4000 Town Center                                                                                       peition date
               Suite 1200                                                                                             includes
               Southfield, MI 48075                                                                                   filing fee              $20,778.50

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                           Describe any property transferred                    Dates transfers              Total amount or
                                                                                                             were made                             value

13. Transfers not already listed on this statement
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    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value
      13.1 Herbuck's Poultry Ranch
      .    6425 W Grand River Ave
              Saranac, MI 48881                        3 Forklifts                                               12-2823                         $14,000.00

              Relationship to debtor



      13.2 GGM Transport LLC
      .    10566 Plaza Dr
              Whitmore Lake, MI 48189                  Freightliner Unite 4212                                   3-1-23                          $40,000.00

              Relationship to debtor



      13.3 GGM Transport
      .    10566 Plaza Dr
              Whitmore Lake, MI 48189                  Freightliner 4214                                         3-1-23                          $40,000.00

              Relationship to debtor



      13.4 GGM Transport LLC
      .    10566 Plaza Dr
              Whitmore Lake, MI 48189                  4201 Freightliner                                         3-1-23                          $25,000.00

              Relationship to debtor



      13.5 Anthony Portelli
      .    C/O Debtor                                  John Deere Skidsteer                                      2023                            $25,000.00

              Relationship to debtor
              Owner


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To
      14.1.    10520 Plaza Dr                                                                                      7-28-2021 -11-30-23
               Whitmore Lake, MI 48189

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

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           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Collect bank data for invoice payment via payment system Bill.com
                 Collect customer name and addresses in Magento invoice processor
                 Does the debtor have a privacy policy about that information?
                   No
                     Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Principle Financial Brian Frankie (Group Admin)                                     EIN:

                    Has the plan been terminated?
                       No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents             Does debtor
                                                             access to it                                                                  still have it?
                                                             Address




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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None


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   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Khlaaed Hazzouril                                                                                                  2020-2023
                    2200 n Canton Center Rd
                    Canton, MI 48187
      26a.2.        Brent Brown                                                                                                        2021-current
                    Debtor address

      26a.3.        Keith Gilbert                                                                                                      2023-current
                    180 Little Lake Dr
                    Ann Arbor, MI 48103
      26a.4.        Sabrina Swanson                                                                                                    Bookeeper in house-
                                                                                                                                       laid off in 2024

      26a.5.        Jamie Needham                                                                                                      Bookeeper-Laid off
                                                                                                                                       2024


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Ann Arbor CPA
                    180 Little Lake Dr #3
                    Ann Arbor, MI 48103

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Umpqua Banking


      26d.2.        PNC Bank
                    Customer Service
                    P.O. Box 3429
                    Pittsburgh, PA 15230-3429
      26d.3.        Tandem Finanical



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      Name and address
      26d.4.        Commercial Credit Group


      26d.5.        Equity Financial


      26d.6.        Citizens One Auto Finance


      26d.7.        On Ramp


      26d.8.        Amazon


      26d.9.        Bank of Ann Arbor
                    125 Fifth Avenue
                    Ann Arbor, MI 48109
      26d.10.       American Express
                    P.O. Box 26312
                    Lehigh Valley, PA 18002-6312

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                 Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                    or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Anthony Portelli                       c/o Debtor                                          President                               100




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient          Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value




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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1                                                                                                                         Services Rendered
      .                                                                                                                            2023 Payroll-
                                                                                                                                   12,400
             Anthony Portelli                                                                                                      2024 Payroll-
                                                       unknown                                                   2023-2024         16,294

             Relationship to debtor
             President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 3, 2024

/s/ Anthony Portelli                                            Anthony Portelli
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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